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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                4/19/2021
                                                                       :
UNITED STATES OF AMERICA,                                              :
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                                                                       :
                  -v-                                                  :       20-cr-110 (LJL)
                                                                       :
ISABELLA POLLOK,                                                       :          ORDER
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

LEWIS J. LIMAN, United States District Judge:

        On February 24, 2021, I entered an order requesting a competency evaluation of the
defendant pursuant to 18 U.S.C. § 4241(d). Dkt. No. 144. I did so at the request of defense
counsel. I have received the report of Dr. James L. Knoll, IV, MD, who was appointed to
conduct the competency evaluation. The report is dated April 6, 2021. Dr. Knoll opines, to a
reasonable degree of medical certainty, that Ms. Pollok does not presently suffer from a mental
disease or defect that renders her unable to understand the nature and consequences of the
proceedings against her or to assist properly in her defense and that Ms. Pollok does have
sufficient present ability to assist her lawyer properly in her defense. Since the date of that
report, the defendant’s counsel has been relieved of the representation and new counsel has been
appointed to represent the defendant.

        It is hereby ORDERED that by May 17, 2021 at 5:00 p.m., counsel for the defendant and
the Government are each to inform the Court whether it requests a hearing pursuant to Section
4241 or any further proceedings with respect to the defendant’s competency. In the absence of a
timely request for a hearing or for further proceedings, the Court will assume that no party
requests further proceedings and will accept Dr. Knoll’s report and opinion.


        SO ORDERED.


Dated: April 19, 2021                                      __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
